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10                             UNITED STATES DISTRICT COURT
11                       SOUTHERN DISTRICT OF CALIFORNIA
12
     JOHN SANDOVAL, on behalf of himself              Case No. 3:15-cv-738 H (JLB)
13   and all others similarly situated,
                                                       PLAINTIFF JOHN SANDOVAL’S
14                   Plaintiff,                        MEMORANDUM OF POINTS
                                                       AND AUTHORITIES IN
15         v.                                          OPPOSITION TO DEFENDANT
                                                       PHARMACARE US, INC.’S
16   PHARMACARE US, INC.,                              MOTION FOR SUMMARY
                                                       JUDGMENT
17                   Defendant.
                                                       [Filed Concurrently with Plaintiff’s
18                                                     Response to Defendant’s Separate
                                                       Statement of Uncontroverted Material
19                                                     Facts, and Plaintiff’s Separate
                                                       Statement of Material Facts in Dispute;
20                                                     Evidentiary Objections; and
                                                       Declaration of William B. Richards,
21                                                     Jr.]
22                                                    Date:       August 29, 2016
                                                      Time:       10:30 AM
23                                                    Dept:       15A
                                                      Judge:      Honorable Marilyn L. Huff
24
25
26

      PLTFF.’S MEM. OF POINTS & AUTHORITIES IN OPPOSITION TO DEF.’S MOT. FOR SUMMARY JUDGMENT
                                                                     CASE NO. 3:15-CV-00738 H (JLB)
 1                                                TABLE OF CONTENTS
 2
 3   I.       INTRODUCTION ..................................................................................................... 1
 4   II.      LEGAL STANDARD ............................................................................................... 2
     III.     ARGUMENT ............................................................................................................. 3
 5
               A. Defendant is Not Entitled to Summary Judgment on
 6                Plaintiff’s UCL, FAL, and CLRA Claims .......................................................... 3
 7                 1. Statements Appearing on Defendant’s Website (www.intensex.com).......... 3
 8                 2. Plaintiff is Not Preempted from Basing His Claims on the Theory
 9                    that Defendant Makes Impermissible Disease Claims .................................. 7
                   3. Defendant’s Representations do not Constitute Non-Actionable Puffery ..... 9
10
               B. Plaintiff is Entitled to the Remedies Sought Under His
11                UCL and FAL Claims ....................................................................................... 13
12                 1. Plaintiff Has a Viable Restitution Claim ..................................................... 13
13                 2. Disgorgement is an Available Remedy ....................................................... 17
14                 3. Plaintiff Has Standing to Seek Injunctive Relief ......................................... 18
15             C. Material Facts Are in Dispute on Whether Defendant Breached
                  an Express Warranty ......................................................................................... 20
16
                   1. Defendant Fails to Show by “Clear Affirmative Proof” that its
17                    Affirmations of Fact, Promises, and Descriptions of IntenseX
18                    Do Not Create Express Warranties .............................................................. 20
19                 2. Defendant’s Website Statements Create Express Warranties that
                      Plaintiff Need Not Have Relied On ............................................................. 23
20
                   3. Plaintiff Was “Actually Exposed” to the Express Warranties on the
21                    Product Packaging and also “Actually Relied” on such Statements ........... 24
22             D. Material Facts Are in Dispute on Plaintiff’s Breach of
                  Implied Warranty of Merchantability ............................................................... 24
23
               E. Material Facts Are in Dispute on Plaintiff’s MMWA Claims .......................... 25
24
     IV.      CONCLUSION........................................................................................................ 25
25
26
                                                                    i
           PLTFF.’S MEM. OF POINTS & AUTHORITIES IN OPPOSITION TO DEF.’S MOT. FOR SUMMARY JUDGMENT
                                                                          CASE NO. 3:15-CV-00738 H (JLB)
 1                                             TABLE OF AUTHORITIES
 2   Cases
 3   Allen v. Hyland’s Inc.,
       300 F.R.D. 643 (C.D. Cal. 2014) ............................................................................. 16, 20
 4
     Allen v. Similasan Corp.,
 5     306 F.R.D. 635 (S.D. Cal. 2015) ................................................................................... 16
 6   Anderson v. Liberty Lobby, Inc.,
 7     477 U.S. 242 (1986) ......................................................................................................... 2

 8   Arroyo v. TP-Link USA Corp.,
       No. 5:14-CV-04999-EJD, 2015 WL 5698752 (N.D. Cal. Sept. 29, 2015) ................... 15
 9
     Autodesk, Inc. v. Dassault Systems Solidworks Corp.,
10     685 F. Supp. 2d 1001 (N.D. Cal. 2009) ......................................................................... 10
11   Barquis v. Merchants Collection Assn.,
       7 Cal. 3d 94 (1972) ........................................................................................................ 14
12
     Bohn v. Pharmavite, LLC,
13     No. CV 11-10430-GHK CWX, 2012 WL 8898669 (C.D. Cal. May 16, 2012)............ 18
14   Burr v. Sherwin Williams Co.,
15     42 Cal.2d 682 (1954) ..................................................................................................... 23

16   C.A.R. Transp. Brokerage Co., Inc. v. Darden Restaurants, Inc.,
       213 F.3d 474 (9th Cir. 2000) ........................................................................................... 2
17
     Carmen v. S.F. Unified Sch. Dist.,
18     237 F.3d 1026 (9th Cir. 2001) ......................................................................................... 3
19   Celotex Corp. v. Catrett,
       477 U.S. 317 (1986) ......................................................................................................... 2
20
     Chowning v. Kohl's Dep't Stores, Inc.,
21     No. CV1508673RGKSPX, 2016 WL 1072129 (C.D. Cal. Mar. 15, 2016) .................. 16
22   Clemens v. DaimlerChrysler Corp.,
23     534 F.3d 1017 (9th Cir. 2008) ....................................................................................... 25
     Coleman v. Boston Sci. Corp.,
24
       No. 1:10-CV-01968-OWW, 2011 WL 3813173 (E.D. Cal. Aug. 29, 2011) ................ 23
25   Cook, Perkiss & Liehe, Inc. v. N. California Collection Serv. Inc.,
26     911 F.2d 242 (9th Cir. 1990) ......................................................................................... 10
                                                                    ii
        PLTFF.’S MEM. OF POINTS & AUTHORITIES IN OPPOSITION TO DEF.’S MOT. FOR SUMMARY JUDGMENT
                                                                       CASE NO. 3:15-CV-00738 H (JLB)
 1   County of Solano v. Vallejo Redevelopment Agency,
 2     75 Cal. App. 4th 1262 (1999) ........................................................................................ 15

 3   Cty. of San Bernardino v. Walsh,
       158 Cal. App. 4th 533 (2007) ........................................................................................ 15
 4
     Dorsey v. Rockhard Labs., LLC,
 5     2014 WL 4678969 (C.D. Cal. Sept. 19, 2014) ........................................................ 10, 22
 6   Fed. Trade Comm’n v. U.S. Sales Corp.,
       785 F. Supp. 737 (N.D. Ill. 1992) .................................................................................. 10
 7
     Fields v. Wise Media, LLC,
 8     No. C 12-05160 WHA, 2013 WL 3187414 (N.D. Cal. June 21, 2013) ........................ 15
 9   Fletcher v. Sec. Pac. Nat'l Bank,
10     23 Cal. 3d 442 (1979) .................................................................................................... 14
     Freeman v. Arpaio,
11
       125 F.3d 732 (9th Cir. 1997) ........................................................................................... 2
12   Freeman v. Time, Inc.,
13     68 F.3d 285 (9th Cir. 1995) ............................................................................................. 5
14   Greenman v. Yuba Power Prods., Inc.,
       59 Cal.2d 57, 62–64 (1963) ........................................................................................... 23
15
     Henderson v. Gruma Corp.,
16     No. CV 10-04173 AHM AJWX, 2011 WL 1362188 (C.D. Cal. Apr. 11, 2011).......... 18
17   Hirsch v. Bank of Am.,
18     107 Cal. App. 4th 708 (2003) ........................................................................................ 15
     In re Sony PS3 Other OS Litig.,
19
        551 Fed. Appx. 916 (2014) ............................................................................................ 25
20   In re Steroid Hormone Prod. Cases,
21      181 Cal. App. 4th 145 (Ct. App. 2010)............................................................................ 9
22   In re Tobacco Cases II,
        240 Cal. App. 4th 779 (2015) ........................................................................................ 16
23
     In re Vioxx Class Cases,
24      180 Cal. App. 4th 116 (2009) ........................................................................................ 16
25   Johns v. Bayer Corp.,
       No. 09-CV-1935-AJB DHB, 2012 WL 1520030 (S.D. Cal. Apr. 30, 2012) ................ 16
26
                                                                   iii
        PLTFF.’S MEM. OF POINTS & AUTHORITIES IN OPPOSITION TO DEF.’S MOT. FOR SUMMARY JUDGMENT
                                                                       CASE NO. 3:15-CV-00738 H (JLB)
 1   Juarez v. Arcadia Fin., Ltd.,
 2     152 Cal. App. 4th 889 (2007) ............................................................................ 13, 14, 18

 3   Karim v. Hewlett-Packard Co.,
       311 F.R.D. 568 (2015) ................................................................................................... 24
 4
     Keegan v. Am. Honda Motor Co., Inc.,
 5     284 F.R.D. 504 (C.D. Cal. 2012) ................................................................................... 23
 6   Keith v. Buchanan,
       173 Cal. App. 3d 13 (1985) ........................................................................................... 21
 7
     Koehler v. Litehouse, Inc.,
 8     No. CV 12-04055 SI, 2012 WL 6217635 (N.D. Cal. Dec. 13, 2012) ........................... 19
 9   Kordel v. U.S.,
10     335 U.S. 345 (1950) ......................................................................................................... 8
     Korea Supply v. Lockheed Martin Corp.,
11
       29 Cal. 4th 1134 (2003) ................................................................................................. 13
12   Kwikset Corp. v. Super. Ct.,
13    51 Cal. 4th 310 (2011) ................................................................................................... 19
14   Larsen v. Trader Joe’s Co.,
       No. C 11-05188 SI, 2012 WL 5458396 (N.D. Cal. June 14, 2012) .............................. 19
15
     Martinez v. Metabolife Int’l, Inc.,
16    113 Cal. App. 4th 181 (2003) ........................................................................................ 25
17   Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp.,
18    475 U.S. 574 (1986) ......................................................................................................... 3
     Miller v. Glenn Miller Prods., Inc.,
19
       454 F.3d 975 (9th Cir. 2006) ........................................................................................... 2
20   Newcal Indus. v. Ikon Office Solutions,
21     513 F.3d 1038 (9th Cir. 2008) ....................................................................................... 10
22   Ortega v. Natural Balance, Inc.,
       300 F.R.D. 422 (C.D. Cal. 2014) ................................................................................... 17
23
     Paduano v. Am. Honda Motor Co. Inc.,
24     169 Cal. App. 4th 1453 (2009) ........................................................................................ 7
25   People v. Sarpas,
       225 Cal. App. 4th 1539 (2014) ...................................................................................... 15
26
                                                                    iv
        PLTFF.’S MEM. OF POINTS & AUTHORITIES IN OPPOSITION TO DEF.’S MOT. FOR SUMMARY JUDGMENT
                                                                       CASE NO. 3:15-CV-00738 H (JLB)
 1   Price v. Kawasaki Motors Corp., USA,
 2     No. SACV 10-01074-JVS, 2011 WL 10948588 (C.D. Cal. Jan. 24, 2011) .................. 15

 3   Ries v. Ariz. Bevs. U.S. LLC, Hornell Brewing Co.,
       287 F.R.D. 523 (N.D. Cal. 2012) ................................................................................... 18
 4
     Samet v. Procter & Gamble Co.,
 5     No. 5:12-CV-01891 PSG, 2013 WL 3124647 (N.D. Cal. June 18, 2013) ...................... 8
 6   Shersher v. Super. Ct.,
       154 Cal. App. 4th 1491 (2007) ...................................................................................... 15
 7
     Southland Sod Farms v. Stover Seed, Co.,
 8     108 F.3d 1134 (9th Cir. 2007) ....................................................................................... 10
 9   Tompkins v. Basic Research LL,
10     No. CIV. S08244LKKDAD, 2008 WL 1808316 (E.D. Cal. Apr. 22, 2008) ................ 15
     U.S. v. Harkonen,
11
       No. C 08–0164 MHP, 2009 WL 1578712 (N.D. Cal. June 4, 2009) .............................. 8
12   Viggiano v. Hansen Natural Corp.,
13     944 F. Supp. 2d 877 (C.D. Cal. 2013) ........................................................................... 21
14   Von Koenig v. Snapple Beverage Corp.,
       713 F. Supp. 2d 1066 (E.D. Cal. 2010) ......................................................................... 15
15
     VP Racing Fuels, Inc. v. Gen. Petroleum Corp.,
16     No. 2:09CV02067-MCE-GGH, 2010 WL 1611398 (E.D. Cal. Apr. 20, 2010)............ 15
17   Weinstat v. Dentsply Int'l, Inc.,
18    180 Cal. App. 4th 1213 (2010) ................................................................................ 20, 24
     Williams v. Gerber Prods. Co.,
19
       552 F.3d 934 (9th Cir. 2008) ..................................................................................... 5, 10
20   Windham at Carmel Mountain Ranch Assn. v. Super. Ct.,
21     109 Cal. App. 4th 1162, 1169 (2003) ............................................................................ 23
22   ZL Techs., Inc. v. Gartner, Inc.,
       No. CV 09-02393 JF (RS), 2009 WL 3706821 (N.D. Cal. Nov. 4, 2009) .................... 15
23
24
25
26
                                                                 v
        PLTFF.’S MEM. OF POINTS & AUTHORITIES IN OPPOSITION TO DEF.’S MOT. FOR SUMMARY JUDGMENT
                                                                       CASE NO. 3:15-CV-00738 H (JLB)
 1   Statutes
 2   21 C.F.R. § 201.128 ............................................................................................................. 9
 3   21 U.S.C. § 321(ff)............................................................................................................. 23
 4   21 U.S.C. § 321(m) .............................................................................................................. 7
 5   Cal. Com. Code § 2313(1)(a) ............................................................................................. 20

 6   Cal. Com. Code § 2313(1)(b) ...................................................................................... 20, 21

 7
     Rules
 8
     CivLR 7.1(e)(1) .................................................................................................................. 17
 9
     CivLR 7.1(f)(2) .................................................................................................................. 17
10
     Fed. R. Civ. P. 56 ................................................................................................................. 2
11   Fed. R. Civ. P. 56(c)(B) ..................................................................................................... 25
12   Fed. R. Civ. P. 56(e)............................................................................................................. 3
13   Fed. R. Evid. 401 ................................................................................................................. 4
14   Fed. R. Evid. 402 ................................................................................................................. 4
15
16   Other Authorities
17   Cal. Com. Code § 2313 cmt. para. 3 .................................................................................. 21

18
19
20
21
22
23
24
25
26
                                                                      vi
         PLTFF.’S MEM. OF POINTS & AUTHORITIES IN OPPOSITION TO DEF.’S MOT. FOR SUMMARY JUDGMENT
                                                                        CASE NO. 3:15-CV-00738 H (JLB)
 1
                                        I. INTRODUCTION
 2
           Plaintiff John Sandoval opposes Defendant’s Motion for Summary Judgment (ECF
 3
     63 or “Motion”), and files with this Memorandum of Points and Authorities his Response
 4
     to Defendant’s Statement of Uncontroverted Material Facts, along with Plaintiff’s Separate
 5
     Statement of Material Facts in Dispute, Evidentiary Objections, and the Declaration of
 6
     William B. Richards, Jr. supporting his Opposition. The Court should deny Defendant’s
 7
     Motion in its entirety.
 8
           First, Defendant’s Motion is essentially a rewrite of its prior motion to dismiss, but
 9
     fails to meet the summary judgment standard of citation to evidence. Indeed, Defendant
10
     does not cite a single expert report in support of any claim that the 1) IntenseX Product
11
     (“Product”) worked, 2) that Defendant’s advertising about the Product did not deceive
12
     Plaintiff, or that 3) Defendant did not deprive Plaintiff of his money for a completely
13
     worthless Product. Thus, Defendant’s Motion fails on this basic evidentiary level.
14
           Second, Plaintiff has established, through evidence, material facts in dispute on all
15
     of his consumer fraud claims, including that the Product was likely to deceive a reasonable
16
     consumer for failing to be effective, and that the Product is unlawful under the Unfair
17
     Competition Law (“UCL”). Similarly, the facts are in dispute on whether IntenseX’s
18
     website constitutes labeling, and the Court should not strike use of this evidence because
19
     it shows Defendant’s intended use of the Product as an aphrodisiac.
20
           Third, Plaintiff’s warranty claims also survive because Plaintiff has evidence the
21
     Product does not work, that the labeling claims of sexual enhancement were material to
22
     Plaintiff, and that Plaintiff was deprived of his money for worthless, illegal pills.
23
           In short, Defendant has failed to meet its burden of proving the lack of any material
24
     facts in dispute and the Court should deny its Motion in its entirety.
25
26
                                                   1
       PLTFF.’S MEM. OF POINTS & AUTHORITIES IN OPPOSITION TO DEF.’S MOT. FOR SUMMARY JUDGMENT
                                                                      CASE NO. 3:15-CV-00738 H (JLB)
 1                                    II. LEGAL STANDARD
 2         Summary judgment is appropriate on “all or any part” of a claim if there is an
 3   absence of a genuine issue of material fact and the moving party is entitled to judgment as
 4   a matter of law. Fed. R. Civ. P. 56; see also Celotex Corp. v. Catrett, 477 U.S. 317, 322
 5   (1986). A fact is material when, under the governing substantive law, the fact could affect
 6   the outcome of the case. See Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986);
 7   see also Freeman v. Arpaio, 125 F.3d 732, 735 (9th Cir. 1997). A dispute about a material
 8   fact is genuine if “the evidence is such that a reasonable jury could return a verdict for the
 9   nonmoving party.” Anderson, 477 U.S. at 248. One of the principal purposes of Rule 56 is
10   to dispose of factually unsupported claims or defenses. See Celotex, 477 U.S. at 323–24.
11         The moving party bears the initial burden of establishing the absence of a genuine
12   issue of material fact. See Celotex, 477 U.S. at 323. “The burden then shifts to the
13   nonmoving party to establish, beyond the pleadings, that there is a genuine issue for trial.”
14   Miller v. Glenn Miller Prods., Inc., 454 F.3d 975, 987 (9th Cir. 2006) (citing Celotex, 477
15   U.S. at 324). “When the party moving for summary judgment would bear the burden of
16   proof at trial, it must come forward with evidence which would entitle it to a directed
17   verdict if the evidence went uncontroverted at trial. In such a case, the moving party has
18   the initial burden of establishing the absence of a genuine issue of fact on each issue
19   material to its case.” C.A.R. Transp. Brokerage Co., Inc. v. Darden Restaurants, Inc., 213
20   F.3d 474, 480 (9th Cir. 2000). “In contrast, when the non-moving party bears the burden
21   of proving the claim or defense, the moving party can meet its burden by pointing out the
22   absence of evidence from the non-moving party. The moving party need not disprove the
23   other party’s case.” Miller, 454 F.3d at 987 (citing Celotex, 477 U.S. at 325).
24         The party opposing summary judgment must “by [his or her] own affidavits, or by
25   the ‘depositions, answers to interrogatories, and admissions on file,’ designate ‘specific
26   facts showing that there is a genuine issue for trial.’” Celotex, 477 U.S. at 324 (quoting
                                                   2
       PLTFF.’S MEM. OF POINTS & AUTHORITIES IN OPPOSITION TO DEF.’S MOT. FOR SUMMARY JUDGMENT
                                                                      CASE NO. 3:15-CV-00738 H (JLB)
 1   Fed. R. Civ. P. 56(e)). That party cannot “rest upon the mere allegations or denials of [his
 2   or her] pleadings.” Fed. R. Civ. P. 56(e). The court may “limit its review to the documents
 3   submitted for the purposes of summary judgment and those parts of the record specifically
 4   referenced therein.” Carmen v. S.F. Unified Sch. Dist., 237 F.3d 1026, 1030 (9th Cir. 2001).
 5           When making its determination, the Court must view all inferences drawn from the
 6   underlying facts in the light most favorable to the nonmoving party. See Matsushita Elec.
 7   Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986). “Credibility
 8   determinations, the weighing of evidence, and the drawing of legitimate inferences from
 9   the facts are jury functions, not those of a judge, [when] he [or she] is ruling on a motion
10   for summary judgment.” Anderson, 477 U.S. at 255.
11                                          III.   ARGUMENT
12   A.      Defendant is Not Entitled to Summary Judgment on Plaintiff’s
             UCL, FAL, and CLRA Claims
13
                 1. Statements Appearing on Defendant’s Website (www.intensex.com)
14
15           Defendant contends that Plaintiff Sandoval cannot pursue claims under California’s

16   UCL, FAL, or CLRA based on statements appearing on its website (www.intensex.com)—

17   namely, statements regarding Asian Ginseng and Tribulus Terrestris. Def.’s Mot. for

18   Summ. J. 5:3-24, ECF No. 63-1 (“Def.’s Mot.”). Notably, Defendant seeks to preclude

19   Plaintiff from basing his claims (“regardless of the theory advanced”) on the website’s

20   most egregious statements—that Asian Ginseng is used for “frigidity and impotence”, and

21   that Tribulus Terrestris is used for “the treatment of sexual dysfunction” and “may help

22   impotence in men and diminished libido in both sexes.” Richards Decl. ¶¶ 2-3, Exs. 1 & 2

23   (showing that Asian Ginseng and Tribulus Terrestiris are advertised on the Product’s label

24   and website, beneath the phrase “Proprietary [Sexual] Energy Blend”); ECF 63-9 at ¶ 3

25   (Defendant, admitting that Pharmacare intended the Product be used to “intensify” a

26   person’s “sexual energy”); Richards Decl. ¶ 2, Ex. 1 (Product packaging, containing

                                                      3
          PLTFF.’S MEM. OF POINTS & AUTHORITIES IN OPPOSITION TO DEF.’S MOT. FOR SUMMARY JUDGMENT
                                                                         CASE NO. 3:15-CV-00738 H (JLB)
 1   express and implied claims about enhancing one’s sexual energy, performance/endurance,
 2   and intensity of enjoyment of sex after consuming the pill).
 3         Specifically, Defendant argues that claims based on the website’s statements fail due
 4   to a lack of individual reliance, and that actual reliance is a necessary element of any UCL,
 5   FAL, and/or CLRA claim. At the outset, Defendant’s reliance argument seems to resemble
 6   more of a premature motion in limine seeking to exclude any reference to statements made
 7   on the website. Indeed, Defendant knows that its website makes unlawful aphrodisiac
 8   claims, and thus now seeks to distance itself from such statements, which is likely the
 9   reason that website is no longer operational. Richards Decl. ¶ 3; ECF 63-9 ¶ 5.
10   Nevertheless, it matters not whether Plaintiff’s claims are based on the website’s
11   statements, as his UCL, FAL, and CLRA claims will survive because he actually relied on
12   statements made on IntenseX’s packaging. ECF 63-4 (“Sandoval Dep.”) at 39:10-16,
13   40:11-13, 41:14-19, 42:3-43:16, 44:6-11, 49:12-20, 65:7-11, 85:20-23, 115:4-15. Further,
14   as discussed in detail below, under California law the website claims also comprise the
15   Product’s labeling. In any case, reference to statements made on Defendant’s website is
16   permissible for a number of reasons.
17         “[A]ll relevant evidence is admissible.” Fed. R. Evid. 402. Evidence is relevant if it
18   has any tendency to make a fact more or less probable than it would be without the
19   evidence, and the fact is of consequence in determining the action. Fed. R. Evid. 401. Here,
20   evidence of Defendant’s website statements is relevant to Plaintiff’s case, and thus
21   admissible, because such statements are necessary to prove or corroborate facts of
22   consequence—namely, that IntenseX is unlawfully advertised and misbranded as an over-
23   the-counter (“OTC”) aphrodisiac, Defendant’s intended use of the Product, and that
24   Defendant’s advertising leads reasonable consumers (including Plaintiff) to believe that
25   IntenseX is an effective OTC aphrodisiac. As this Court already determined, claims under
26   the UCL, FAL, and CLRA are governed by the “reasonable consumer” test. See Order
                                                   4
       PLTFF.’S MEM. OF POINTS & AUTHORITIES IN OPPOSITION TO DEF.’S MOT. FOR SUMMARY JUDGMENT
                                                                      CASE NO. 3:15-CV-00738 H (JLB)
 1   Denying Def.’s Mot. to Dismiss 12:15-17, ECF No. 17 (“MTD Order”) (citing Williams v.
 2   Gerber Prods. Co., 552 F.3d 934, 938 (9th Cir. 2008)). The “reasonable consumer” test
 3   focuses on whether “members of the public are likely to be deceived.” Williams, 552 F.3d
 4   at 938 (citing Freeman v. Time, Inc., 68 F.3d 285, 289 (9th Cir. 1995)). And, there currently
 5   exists a genuine dispute of material fact as to whether Defendant’s advertising leads a
 6   reasonable consumer to believe IntenseX is marketed as an aphrodisiac, as well as the
 7   intended use of the Product and Defendant’s state of mind in making such claims. The
 8   regulatory classification of a product under the FDCA is determined by its intended use, as
 9   evidenced by, inter alia, its labeling and advertising, the circumstances of its marketing,
10   sale and use, and the manufacturer’s knowledge that a product is being used for a purpose
11   for which it is neither labeled nor advertised. 21 C.F.R. § 201.128.
12         Although Defendant in a self-serving affidavit (since no expert report was filed with
13   Defendant’s Motion) contends IntenseX is merely a “dietary supplement”, Plaintiff’s
14   expert, Dr. George E. Belch (“Dr. Belch”), disagrees, concluding:
15         Based on a careful review of the design of the IntenseX product package and
           the information it contains, it is my opinion that consumers would clearly
16         perceive this to be a sexual performance enhancement product. While there is
           also information on the package that describes IntenseX as a Dietary
17         Supplement, the wording and claims discussed above are designed to position
18         it as a sexual performance enhancement product rather than a dietary
           supplement. Claims made on the IntenseX package such as “intensify your
19         endurance, stamina and sexual performance,” and “Achieve peak
           performance to maximize the experience when you want it most” have no
20         relation to dietary or nutritional supplements. Even the instructions under the
21         Recommend Use section at the top of the Side 2 panel state that recommended
           use is one to two tablets 30-60 minutes before the benefit is desired which
22         may convey to the consumer that a temporary sexual performance benefit
           would be realized soon after using IntenseX. It is my opinion that consumers
23         are more likely to perceive IntenseX as a sexual performance enhancement
           product rather than a dietary supplement. Moreover, the claims made for
24         IntenseX are material and likely to influence the purchase behavior of
25         consumers who are in the market for a sexual performance enhancement
           product.
26
                                                   5
       PLTFF.’S MEM. OF POINTS & AUTHORITIES IN OPPOSITION TO DEF.’S MOT. FOR SUMMARY JUDGMENT
                                                                      CASE NO. 3:15-CV-00738 H (JLB)
 1   Richards Decl., ¶ 4 Ex., 3 (Dr. Belch June 29, 2016 Rebuttal to Expert Report of Mark
 2   Keegan [“Belch Rebuttal Report”]) 7 (emphasis added). Dr. Belch’s findings are directly
 3   in line with Plaintiff’s belief as to the Product’s intended purpose, making Sandoval’s
 4   interpretation of the Product’s packaging that of an ordinary consumer. Id.; Sandoval Dep.
 5   49:2-11, 59:3-9, 68:5-8, 68:25-69:4, 70:20-71:4, 74:6-11. Statements and images published
 6   on Defendant’s website (i.e., “IntenseX was formulated to rev up your sex drive and
 7   enhance stamina, endurance, and most importantly, heighten and complete your sexual
 8   experience”) only solidify this conclusion. Richards Decl. ¶ 3, Ex. 2. Moreover, the
 9   website’s claims that Asian Ginseng is used for consumers who suffer from “frigidity and
10   impotence” (Id.) matches Plaintiff’s testimony that he believed IntenseX to be an
11   aphrodisiac because, inter alia, the Product contains Ginseng (as stated on the IntenseX
12   packaging that he relied on), which Sandoval understands is typically used in other sexual
13   enhancement products such as “Extenze.” Sandoval Dep. 50:3-51:18.
14         Furthermore, there is a genuine dispute as to whether Plaintiff actually viewed and/or
15   relied on Defendant’s website representations. Plaintiff testified that he visited
16   www.intensex.com more than once (after his first purchase) and read articles and reviews
17   thereon. Id. 86:9-87:9, 92:13-15, 115:7-11. Although Defendant claims the IntenseX
18   website has no “reviews” page (Def.’s Mot. 5:13-14), that website seems to have been
19   taken down by Defendant, and thus its claim cannot be corroborated. ECF 63-9 ¶5;
20   Richards Decl. ¶ 3. As such, genuine disputes of material fact exist that would not warrant
21   summary judgment as to Defendant’s website claims. And, regardless of whether
22   Plaintiff’s claims are based on statements appearing on the IntenseX website, such website
23   statements are nonetheless admissible relevant evidence, and this Court should not sanction
24   Defendant’s attempt to withhold from the trier of fact its most egregious aphrodisiac claims
25   while simultaneously claiming to have complied with all consumer protection and
26   advertising laws.
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       PLTFF.’S MEM. OF POINTS & AUTHORITIES IN OPPOSITION TO DEF.’S MOT. FOR SUMMARY JUDGMENT
                                                                      CASE NO. 3:15-CV-00738 H (JLB)
 1             2. Plaintiff is Not Preempted from Basing His Claims on the Theory that
 2                Defendant Makes Impermissible Disease Claims

 3         Defendant contends that “to the extent that Sandoval claims that PharmaCare
 4   violated the UCL, FAL, and CLRA by making impermissible disease claims on the
 5   IntenseX label, Sandoval’s claims fail” and that “[t]his Court already ruled that Sandoval’s
 6   theory that IntenseX’s label makes impermissible disease claims is expressly preempted.”
 7   Def.’s Mot. 6:1-17. However, on September 30, 2015, the Court actually denied
 8   Defendant’s Motion to Dismiss, holding that “[m]any of the issues raised are better suited
 9   for summary judgment.” MTD Order 19:1-9. And, although the Court discussed
10   preemption pertaining to disease claims on the Product’s labeling, the Court noted that
11   “Plaintiff also identifies statements on the IntenseX website that are disease claims”
12   including the claim about Tribulus Terrestris which “implies treatment of impotence, a
13   disease.” Id. 8:18-21; see also Richards Decl. ¶ 3, Ex. 2. The Court also stated that Plaintiff
14   asserts that those claims violate California’s Sherman Law and the UCL’s unlawful prong,
15   and that claims under the Sherman law are not expressly preempted. Id. 8:18-9:2. See
16   Paduano v. Am. Honda Motor Co. Inc., 169 Cal. App. 4th 1453, 1470-74 (2009) (finding
17   plaintiff had no UCL claim based on miles-per-gallon claims consistent with preemptive
18   federal law, but denying summary judgment because plaintiff also challenged other
19   advertising statements outside the scope of preemption). Here, Plaintiff alleges the Product
20   violates the law because no aphrodisiac may be sold without an approved new drug
21   application, which the Court already ruled is not preempted (MTD Order 9:3-12), and
22   Defendant filed no evidence disproving this theory. The website tends to make true these
23   unlawful claims because they show Defendant’s intended use of the Product.
24         Under the Federal Food, Drug, and Cosmetic Act (“FDCA”), “[t]he term ‘labeling’
25   means all labels and other written, printed, or graphic matter (1) upon any article or any of
26   its containers or wrappers, or (2) accompanying such article.” 21 U.S.C. § 321(m). As
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       PLTFF.’S MEM. OF POINTS & AUTHORITIES IN OPPOSITION TO DEF.’S MOT. FOR SUMMARY JUDGMENT
                                                                      CASE NO. 3:15-CV-00738 H (JLB)
 1   such, statements not actually printed on a label itself, but which appear anywhere and
 2   “supplement or explain the product,” even if not included with the label physically or by
 3   time, constitute labeling. Kordel v. U.S., 335 U.S. 345, 349–50 (1950). See also U.S. v.
 4   Harkonen, No. C 08–0164 MHP, 2009 WL 1578712, at *11 (N.D. Cal. June 4, 2009)
 5   (“[L]abeling under the FDCA is construed expansively, such that it may encompass nearly
 6   every form of promotional activity, including package inserts, pamphlets, mailing pieces,
 7   fax bulletins, reprints of press releases, and all other literature that supplements, explains,
 8   or is otherwise textually related to the product.”). Here, the statements made on
 9   Defendant’s website constitute labeling because those statements supplement or explain
10   the Product’s ingredients, and textually expand on the intended use of the Product. See id.
11   IntenseX’s label identifies the ingredients that comprise its “blend of potent herbal
12   extracts” and the website explains the intended use for each of IntenseX’s ingredients.1
13   Richards Decl., Exs. 1-2. IntenseX’s packaging even directs users who have questions or
14   comments to “visit us at www.intensex.com”—a website which clearly illustrates the
15   Product’s intended use as an aphrodisiac. Richards Decl. ¶ 3, Ex. 2. Where a label refers a
16   consumer to a specific website for information about a claim in question, the website can
17   be considered to be “accompanying” the article as “labeling.” Samet v. Procter & Gamble
18   Co., No. 5:12-CV-01891 PSG, 2013 WL 3124647, at *9 (N.D. Cal. June 18, 2013).
19   1
       For instance, concerning the ingredient muira puama, the website states “in addition to
20   being used as an aphrodisiac, this Amazonian herb boosts and prolongs performance,
21   enhances virility [sexual drive] and improves overall health;” and that “[r]ecent studies
     have validated its safety and effectiveness in improving libido and sexual function in
22   some patients.” The website identifies catuaba bark as “the most famous of all the Brazilian
23   aphrodisiac plants.” Concerning tribulus terrestris, the website claims that “the most
     common use for this plant is for the treatment of sexual dysfunction” and that
24   “[e]mpirical evidence suggests that tribulus may help impotence in men and diminished
25   libido in both sexes.” Finally, the website associates ginseng as a remedy when “adrenal
     and sexual energy are low” used for consumers who suffer from “frigidity and
26   impotence.” Richards Decl. ¶ 3, Ex. 2.
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         PLTFF.’S MEM. OF POINTS & AUTHORITIES IN OPPOSITION TO DEF.’S MOT. FOR SUMMARY JUDGMENT
                                                                        CASE NO. 3:15-CV-00738 H (JLB)
 1           Any product, even a food, can be considered an unapproved drug; what matters here
 2   is Defendant’s intended use for the Product.            21 C.F.R. § 201.128 (the regulatory
 3   classification of a product under the FDCA is determined by its intended use, as evidenced
 4   by, inter alia, its labeling and advertising, the circumstances of its marketing, sale and use,
 5   and the manufacturer’s knowledge that a product is being used for a purpose for which it
 6   is         neither         labeled        nor         advertised);                 see        also
 7   http://www.fda.gov/ICECI/EnforcementActions/WarningLetters/ucm162943.htm
 8   (warning Cheerios that because it made disease claims on its cereal, it was an unapproved
 9   new drug); ECF 59 at 2:4 to 4:5. At a minimum, there exists a genuine issue of material
10   fact as to whether the website’s statements constitute labeling, and Defendant has not
11   provided any argument or evidence that it does not. As such, summary judgment on this
12   issue is inappropriate.
13           Finally, reliance is not needed for a UCL unlawful claim or a CLRA claim based on
14   unlawful behavior because illegalness is considered material. In re Steroid Hormone Prod.
15   Cases, 181 Cal. App. 4th 145, 159-160 (Ct. App. 2010). In addition, under In re Steroid
16   Hormone Product Cases, where unlawful behavior is proven, not only is reliance not
17   needed, but injury is presumed. Id. at 154-157 (holding that a plaintiff “does not put
18   valuation at issue when he alleges that he bought a product that was illegal to sell or
19   possess”). This decision of the California Court of Appeal is binding on this Court as it is
20   a state court of appeal interpreting state law.
21               3. Defendant’s Representations do not Constitute Non-Actionable Puffery
22           Without citation to a single expert or any evidence, Defendant argues that
23   “Plaintiff’s UCL, FAL, and CLRA claims fail because they rely on non-actionable puffery.
24   Def.’s Mot. 6:18-7:25. Not so. “‘Puffing’ has been described by most courts as involving
25   outrageous generalized statements, not making specific claims, that are so exaggerated as
26   to preclude reliance by consumers.” Cook, Perkiss & Liehe, Inc. v. N. California Collection
                                                       9
          PLTFF.’S MEM. OF POINTS & AUTHORITIES IN OPPOSITION TO DEF.’S MOT. FOR SUMMARY JUDGMENT
                                                                         CASE NO. 3:15-CV-00738 H (JLB)
 1   Serv. Inc., 911 F.2d 242, 246 (9th Cir. 1990). In other words, puffery is “exaggerated
 2   advertising, blustering, and boasting upon which no reasonable buyer would rely.” Dorsey
 3   v. Rockhard Labs., LLC, 2014 WL 4678969, at *5 (C.D. Cal. Sept. 19, 2014) (quoting
 4   Southland Sod Farms v. Stover Seed, Co., 108 F.3d 1134, 1145 (9th Cir. 2007)). Puffery
 5   “refers generally to an expression of opinion not made as a representation of fact.” Fed.
 6   Trade Comm’n v. U.S. Sales Corp., 785 F. Supp. 737, 746 (N.D. Ill. 1992). Thus, a
 7   statement is mere puffery only where it is “extremely unlikely to induce consumer
 8   reliance.” Newcal Indus. v. Ikon Office Solutions, 513 F.3d 1038, 1053 (9th Cir. 2008);
 9   accord Autodesk, Inc. v. Dassault Systems Solidworks Corp., 685 F. Supp. 2d 1001, 1017
10   (N.D. Cal. 2009). Importantly, “[t]he Court must consider the packaging as a whole in
11   evaluating whether the advertisement can be read as implying specific facts about the
12   product.” Dorsey, 2014 WL 4678969, at *5. Where a series of statements “contributes to
13   the deceptive context of the packaging as a whole” the court should not dismiss the
14   statements as puffery. See Williams, 552 F.3d at 939 n.3.
15         In Dorsey, another aphrodisiac consumer protection case, the court found that certain
16   “statements, taken as a whole and in context, do not constitute puffery, but rather make
17   specific claims regarding the benefits of taking” the challenged product. Dorsey, 2014 WL
18   4678969, at *6. That is the case here also. The net impression of Defendant’s advertising
19   and labeling statements is that IntenseX and its ingredients are effective in providing
20   aphrodisiac benefits by utilizing a “fast acting formula [that] quickly dissolves in the body
21   releasing an energy packed blend of potent herbal extracts,” which is “Laboratory Quality
22   Tested” using only the “highest manufacturing standards,” thereby providing purchasers
23   “Sexual Power and Performance,” as well as “endurance, stamina, and sexual
24   performance.” Richards Decl. ¶ 2, Ex. 1. Moreover, Defendant touts the benefits of the
25   Product’s ingredients on its website as “prolonging performance, enhancing virility [sexual
26   drive] and improving overall health,” “improving libido and sexual function” “treat[ing] []
                                                   10
       PLTFF.’S MEM. OF POINTS & AUTHORITIES IN OPPOSITION TO DEF.’S MOT. FOR SUMMARY JUDGMENT
                                                                      CASE NO. 3:15-CV-00738 H (JLB)
 1   sexual dysfunction” and “help[ing] impotence in men and diminished libido in both sexes.”
 2   Richards Decl. ¶ 3, Ex. 2.
 3         In an attempt to persuade this Court that its aphrodisiac representations are mere
 4   puffery, Defendant contends that IntenseX’s packaging only led Plaintiff “to believe that
 5   he would have an increased libido, have a ‘rock-hard erection’ and be able to ‘cum[] very
 6   easily.” Def.’s Mot. 7:11-16. However, not only is this a reasonable interpretation of the
 7   package’s express and implied claims, but Defendant fails entirely to address other claims
 8   on the Product’s packaging, as well as the claims made on the IntenseX website (which
 9   constitutes labeling). See fn. 1 supra; Richards Decl. ¶¶ 2-3, Exs. 1-2. In any case, the
10   cherry-picked deposition statements Defendant references (without citation) misinterprets
11   and oversimplifies his testimony.
12         Specifically, Plaintiff testified that he believed the Product’s name (IntenseX)
13   implied he was “going to have intense sex” by taking it – this is a reasonable interpretation
14   of the label’s express and implied claims. Sandoval Dep. 68:25-69:4; compare Belch
15   Rebuttal Report 6 (“the IntenseX brand name is a blended word combining two emotionally
16   charged words, Intense and Sex, which have cultural meaning among consumers. Intense
17   sex is a term often used in reference to a very strong, passionate and/or arousing sexual
18   experience.”) (emphasis in original). With respect to the phrase “IntenseX is designed to
19   intensify your endurance, stamina, and sexual performance”, Plaintiff testified that he
20   interpreted this to mean the Product would increase his libido and erection. Sandoval Dep.
21   70:15-71:4; compare Belch Rebuttal Report 6 (“These words are very clear and direct
22   regarding the benefits that would be received by taking IntenseX. Endurance and stamina
23   are words that are often used in relation to the duration of sexual intercourse and the fact
24   that they are used here in the same sentence as sexual performance makes the benefit claim
25   very explicit.”). In fact, Defendant’s own website states that the Product’s ingredients
26   (Muira Puma and Tribulus Terrestris) improve diminished libido and sexual function.
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       PLTFF.’S MEM. OF POINTS & AUTHORITIES IN OPPOSITION TO DEF.’S MOT. FOR SUMMARY JUDGMENT
                                                                      CASE NO. 3:15-CV-00738 H (JLB)
 1   Richards Decl. ¶ 3, Ex. 2.
 2         Plaintiff further testified that he believed the phrase “Achieve peak performance to
 3   maximize the experience when you want it most”, meant the Product maximize his erection
 4   and climax/ejaculation, which is what the package expressly and impliedly claims.
 5   Sandoval Dep. 74:6-11; compare Belch Rebuttal Report 6, 12 (
 6         “Since this statement appears in the same paragraph of the sexual performance
           claim, it is clear that it is there in reference to peak sexual performance and
 7
           maximizing a sexual experience. . . . Sixty percent of the respondents believed
 8         that the ‘Achieve peak performance to maximize the experience when you
           want it most’ and ‘IntenseX logo’ statements are communicating specific
 9
           benefits. These results show that a majority of the respondents do perceive the
10         sexual performance related statements are communicating specific benefits.”).
11   Plaintiff also testified that he thought the phrase “Fast Acting!” meant that IntenseX would
12   work within 5 to 30 minutes of ingestion. Sandoval Dep. 68:5-8; compare Belch Rebuttal
13   Report 6 (“The words ‘Fast Acting!’ that appear above the IntenseX brand name also
14   convey a sexually related efficacy claim which is that the sexual power and performance
15   benefits will occur in a short time period after taking the product, which is important benefit
16   for a sexual performance enhancement product.”). Plaintiff further believed that the phrase
17   implied IntenseX would work before he got home, after taking the Product outside the store
18   he purchased it at approximately 30 minutes away. Sandoval Dep. 42:8-18; compare
19   Richards Decl. 3, Ex. 2 (IntenseX website) (“IntenseX is the only fast-acting formula that
20   works within minutes to give you the powerful, sexual energy you need to make a ‘long
21   lasting’ impression.”; “Works so fast you may not make it home.”) (emphasis added).
22   Defendant filed zero evidence in support of its Motion that Sandoval’s understanding of
23   the Product was not exactly what Defendant intended him to believe.
24         In sum, looking to the Product’s labeling as a whole, Plaintiff reasonably believed
25   IntenseX to be an aphrodisiac. Sandoval Dep. 49:2-11, 50:1-51:3; compare Belch Rebuttal
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       PLTFF.’S MEM. OF POINTS & AUTHORITIES IN OPPOSITION TO DEF.’S MOT. FOR SUMMARY JUDGMENT
                                                                      CASE NO. 3:15-CV-00738 H (JLB)
 1   Report ¶ 4 (“These words and statements are on the package for a reason which is to
 2   communicate to consumers reviewing the package that IntenseX is a product that can help
 3   enhance sexual performance.”). Accordingly, Defendant’s assertions, when considered in
 4   the context of IntenseX’s packaging and advertising as a whole—“are not vague,
 5   exaggerated, or subjective, [but] are precisely the type of representations upon which
 6   consumers might rely.” See Swiss Am. Trading Corp. v. Regal Assets, LLC, 2015 WL
 7   631569, at *2 (C.D. Cal. Feb. 13, 2015). Because such representations are not merely
 8   expressions of opinion but rather representations of fact, and cannot be said to be extremely
 9   unlikely to induce consumer reliance, Defendant’s representations are not mere non-
10   actionable puffery.
11   B.      Plaintiff is Entitled to the Remedies Sought Under His UCL and
             FAL Claims
12
                 1. Plaintiff Has a Viable Restitution Claim
13
14           Citing Korea Supply v. Lockheed Martin Corp., 29 Cal. 4th 1134, 1144-45 (2003),

15   Defendant first argues that restitution under the UCL and FAL is limited to the return of

16   property or funds in which the plaintiff has an ownership interest, and that Plaintiff seeks

17   a refund of monies to which he has no ownership interest rather than the money he spent

18   on the Product individually. Def.’s Mot. 8:6-24. However, four years after the Korea

19   Supply decision was handed down, the California Court of Appeal maintained that Korea

20   Supply “concluded that ‘restitutionary disgorgement’ is available under the UCL.” Juarez

21   v. Arcadia Fin., Ltd., 152 Cal. App. 4th 889, 914-15 (2007). In support of this conclusion,

22   the court quoted Korea Supply’s statements that restitution under the UCL “is not limited

23   only to the return of money or property that was once in the possession of [the plaintiff],”

24   but “is broad enough to allow a plaintiff to recover money or property in which he or she

25   has a vested interest.” Id. at 915 (quoting Korea Supply, 29 Cal. 4th at 1149). It further

26   reasoned that “plaintiffs arguably have an ownership interest in any profits [Defendant]

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          PLTFF.’S MEM. OF POINTS & AUTHORITIES IN OPPOSITION TO DEF.’S MOT. FOR SUMMARY JUDGMENT
                                                                         CASE NO. 3:15-CV-00738 H (JLB)
 1   may have gained through interest or earnings on the plaintiffs’ money that [Defendant]
 2   wrongfully held.” Id. The court also distinguished several other cases holding that there is
 3   no right to restitutionary disgorgement on the ground that plaintiffs in those cases “had not
 4   lost to the defendant any vested interest in money or property.” Id. at 917. Here, Plaintiff
 5   actually lost money—$9.99 per purchase. Sandoval Dep. 40:14-17, 103:14-19. In essence,
 6   the Juarez court’s view was that, provided there is a reasonable nexus between profits and
 7   what was taken by the defendant, equity allows the plaintiff to recover not only what was
 8   taken, but also any profits generated from what was taken.
 9         Like Juarez, Plaintiff here seeks restitution of monies alleged to have wrongfully
10   collected from Plaintiff, as well as any profits and interest Defendant may have earned on
11   these monies. In any case, summary judgment is inappropriate here because “it is not clear
12   that the plaintiff[] will not be able to establish that the disgorgement of certain profits made
13   as a result of its unlawful practice falls under the rubric of ‘restitutionary disgorgement.’”
14   Juarez, 152 Cal. App. 4th at 917 n.16.
15         Even if this Court were to agree with Defendant’s unsupported position, Plaintiff’s
16   UCL and FAL claims would still survive because the Court could simply fashion a
17   restitution award as it sees fit. As with the substantive provisions of the UCL, the remedial
18   provisions have been liberally construed to give courts broad powers to fashion creative
19   awards of injunctive or restitutionary relief. See Fletcher v. Sec. Pac. Nat'l Bank, 23 Cal.
20   3d 442, 449 (1979) (noting that principles of equity, combined with express statutory
21   language, arms “the trial court with the cleansing power to order restitution to effect
22   complete justice.”); Barquis v. Merchants Collection Assn., 7 Cal. 3d 94, 111 (1972)
23   (explaining that the Legislature’s intent was “to permit tribunals to enjoin on-going
24   wrongful business conduct in whatever context such activity might occur.”).
25         Second, Defendant argues that Plaintiff cannot seek restitution because he did not
26   purchase anything directly from PharmaCare. Def.’s Mot. 8:25-9:2. Defendant’s argument,
                                                   14
       PLTFF.’S MEM. OF POINTS & AUTHORITIES IN OPPOSITION TO DEF.’S MOT. FOR SUMMARY JUDGMENT
                                                                      CASE NO. 3:15-CV-00738 H (JLB)
 1   however, misses the mark. Indeed, the California Court of Appeal has specifically held that
 2   a remedy of restitution under the UCL is not limited to plaintiffs making direct payments
 3   to a defendant, and a buyer of products from a retailer is entitled to pursue recovery of
 4   restitution from a manufacturer for the manufacturer’s alleged deceptive marketing.
 5   Shersher v. Super. Ct., 154 Cal. App. 4th 1491 (2007); id. at 1500 (“[T]he plaintiff in a
 6   UCL action may obtain restitution from a defendant with whom the plaintiff did not deal
 7   directly.”) (citing Hirsch v. Bank of Am., 107 Cal. App. 4th 708 (2003)).2
 8          Third, Defendant argues that Plaintiff’s restitution claim fails to account for the
 9   purported value of the caffeine effect he received from the Product, but Defendant lacks its
10   own an expert on damages entirely. Def.’s Mot. 9:3-14. Defendant also filed no evidence
11   to support that IntenseX is marketed for a caffeine high or that any reasonable consumer
12   would so interpret the Product’s labeling. See id. In addition, Plaintiff never purchased
13   IntenseX to obtain a caffeine benefit, nor did Plaintiff rely on the fact that caffeine was
14   present in the Product when choosing to purchase it. In fact, Plaintiff has never purchased
15   caffeine pills before, and would not need to because he already drinks coffee. Sandoval
16   Dep. 80:2-3. And, IntenseX is clearly not marketed to consumers seeking caffeine.
17   Defendant’s position that Plaintiff must deduct the value of caffeine benefits obtained from
18
     2
       Accord People v. Sarpas, 225 Cal. App. 4th 1539, 1561 (2014); Cty. of San Bernardino
19
     v. Walsh, 158 Cal. App. 4th 533, 542 (2007); County of Solano v. Vallejo Redevelopment
20   Agency, 75 Cal. App. 4th 1262, 1278 (1999); Price v. Kawasaki Motors Corp., USA, No.
21   SACV 10-01074-JVS, 2011 WL 10948588, at *5 (C.D. Cal. Jan. 24, 2011); Von Koenig v.
     Snapple Beverage Corp., 713 F. Supp. 2d 1066, 1079 (E.D. Cal. 2010); VP Racing Fuels,
22   Inc. v. Gen. Petroleum Corp., No. 2:09CV02067-MCE-GGH, 2010 WL 1611398, at *3
23   (E.D. Cal. Apr. 20, 2010); Tompkins v. Basic Research LL, No. CIV. S08244LKKDAD,
     2008 WL 1808316, at *4 n.7 (E.D. Cal. Apr. 22, 2008); Arroyo v. TP-Link USA Corp., No.
24   5:14-CV-04999-EJD, 2015 WL 5698752, at *5 (N.D. Cal. Sept. 29, 2015); Fields v. Wise
25   Media, LLC, No. C 12-05160 WHA, 2013 WL 3187414, at *6 (N.D. Cal. June 21, 2013);
     ZL Techs., Inc. v. Gartner, Inc., No. CV 09-02393 JF (RS), 2009 WL 3706821, at *10
26   (N.D. Cal. Nov. 4, 2009).
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         PLTFF.’S MEM. OF POINTS & AUTHORITIES IN OPPOSITION TO DEF.’S MOT. FOR SUMMARY JUDGMENT
                                                                        CASE NO. 3:15-CV-00738 H (JLB)
 1   the Product, if accepted, would only lead to a slippery slope. For example, under
 2   Defendant’s position, if a consumer was misled into purchasing an expensive bottle of
 3   exotic vodka which turned out to be nothing more than water, courts would be forced to
 4   require the deduction of the value of water since all consumers drink water. This begs the
 5   question, what would be the value of water? Would it be the value of tap water or a $20
 6   bottle of Voss Artisan water? Defendant’s unsupported argument, lacking in evidence
 7   entirely, is nothing more than an attempt to muddy the waters in order to complicate simple
 8   restitutionary calculations.
 9         The single case Defendant cites in support of its position, In re Vioxx Class Cases,
10   180 Cal. App. 4th 116, 131 (2009), is inapposite to the case at hand, as the value of the
11   product purchased and the value of a safer similar product there was at least comparable
12   (both pain relieving drugs). Conversely, in the instant matter, the IntenseX Product
13   advertised for sexual enhancement is in no way comparable to coffee or caffeine, nor was
14   that the Product’s intended use. Even more fatal to Defendant’s position, “Vioxx does not
15   purport to set forth the exclusive measure of restitution potentially available in a UCL
16   case.” In re Tobacco Cases II, 240 Cal. App. 4th 779, 792 (2015); accord Johns v. Bayer
17   Corp., No. 09-CV-1935-AJB DHB, 2012 WL 1520030, at *5 (S.D. Cal. Apr. 30, 2012).
18   Rather, “[a] full refund may be available in a UCL case when the plaintiffs prove the
19   product had no value to them.” In re Tobacco Cases II, 240 Cal. App. 4th at 795–96. And,
20   “courts have approved a full refund as a measure of restitution in those cases where the
21   consumers alleged that the challenged products provided absolutely no value.” Chowning
22   v. Kohl's Dep't Stores, Inc., No. CV1508673RGKSPX, 2016 WL 1072129, at *7 (C.D. Cal.
23   Mar. 15, 2016). See Allen v. Similasan Corp., 306 F.R.D. 635, 649 (S.D. Cal. 2015) (“Here,
24   restitution is the equivalent of out-of-pocket expenses because, under Plaintiffs’ theory, the
25   purchased Products are ineffective and therefore worthless.”); Allen v. Hyland’s Inc., 300
26   F.R.D. 643, 671 (C.D. Cal. 2014) (“Plaintiffs’ contention that they are entitled to full
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       PLTFF.’S MEM. OF POINTS & AUTHORITIES IN OPPOSITION TO DEF.’S MOT. FOR SUMMARY JUDGMENT
                                                                      CASE NO. 3:15-CV-00738 H (JLB)
 1   restitution is linked to their theory that the products they paid for are worthless because
 2   they did not provide any of the advertised benefits and had no ancillary value.”); Ortega v.
 3   Natural Balance, Inc., 300 F.R.D. 422, 430 (C.D. Cal. 2014) (court certified a class action
 4   where the plaintiffs sought a full refund for a dietary supplement on the ground it falsely
 5   advertised aphrodisiac qualities and had no value apart from that claim).
 6         Here, Plaintiff’s expert concluded that IntenseX is essentially ineffective. See
 7   Richards Decl., ¶ 5, Ex. 4 (David Rowland June 29, 2016 Rebuttal to Expert Report of Eric
 8   Gershwin (“Rowland Rebuttal Report”)) 12 (“[N]one of the ingredients in IntenseX have
 9   any authoritative studies showing aphrodisiac effects, nor is there a significant accumulated
10   body of scientific literature supporting their use for any pro-sexual effects, and most if not
11   all of the IntenseX ingredients have been demonstrated to have no such effects.”); id. at 8
12   (“Even for the small number of studies that suggest a positive effect of particular
13   ingredients in IntenseX, they do not provide support for the claims on the IntenseX label.”);
14   Richards Decl., ¶ 6, Ex. 5 (David L. Rowland’s May 27, 2016 Expert Review of the
15   Manufacturer’s Claims for IntenseX (“Rowland Expert Report”)) ¶¶ 9-24. Not only did
16   Defendant file zero evidence in support of its Motion on effectiveness or caffeine value
17   (and it cannot do so for the first time in a Reply [CivLRs 7.1(e)(1), (f)(2)]), but Plaintiff
18   has moved to strike Defendant’s purported science and FDA expert on Daubert grounds.
19   ECF 62. Plaintiff also testified that IntenseX did not work for him, which is circumstantial
20   evidence that bolsters Plaintiff’s expert evidence. Sandoval Dep. 22:22-23:14, 48:17-49:1,
21   55:11-13, 62:2-5, 71:13-72:6, 73:7-9, 75:5-7, 89:14-16, 90:20-22. Because IntenseX has
22   no value at all, a full refund is the appropriate measure of restitution.
23             2. Disgorgement is an Available Remedy
24         Defendant argues that disgorgement is not an available remedy under the UCL or
25   FAL. Def.’s Mot. 9:15-20. As discussed above, however, provided there is a reasonable
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       PLTFF.’S MEM. OF POINTS & AUTHORITIES IN OPPOSITION TO DEF.’S MOT. FOR SUMMARY JUDGMENT
                                                                      CASE NO. 3:15-CV-00738 H (JLB)
 1   nexus between profits and what was taken by the defendant, equity allows the plaintiff to
 2   recover not only what was taken, but also any profits generated from what was taken. See
 3   Juarez, 152 Cal. App. 4th at 914-17. In any event, Plaintiff is still entitled to damages under
 4   the CLRA, which is the same calculation as restitutionary disgorgement (price paid).
 5             3. Plaintiff Has Standing to Seek Injunctive Relief
 6         Defendant claims Plaintiff lacks standing to pursue injunctive relief because it is
 7   unlikely he will purchase the Product again in the future. Def.’s Mot. 9:21-10:17. Yet,
 8   Plaintiff never alleged he would not purchase the Product again in future if it were
 9   advertised truthfully or actually provided the advertised benefits. More importantly, this
10   Court already held that “Plaintiff has standing to pursue his claims” and that “Defendant’s
11   request to shave off one remedy does not require dismissal of his claims.” MTD Order
12   17:26-28. See also Bohn v. Pharmavite, LLC, No. CV 11-10430-GHK CWX, 2012 WL
13   8898669, at *4 (C.D. Cal. May 16, 2012) (“[W]e decline to consider Defendant’s argument,
14   which at best will only result in striking specific forms of relief on a piece-meal basis.”).
15         In any case, “were the Court to accept the suggestion that plaintiffs’ mere recognition
16   of the alleged deception operates to defeat standing for an injunction, then injunctive relief
17   would never be available in false advertising cases, a wholly unrealistic result.” Ries v.
18   Ariz. Bevs. U.S. LLC, Hornell Brewing Co., 287 F.R.D. 523, 533 (N.D. Cal. 2012) (citing
19   Henderson v. Gruma Corp., No. CV 10-04173 AHM AJWX, 2011 WL 1362188, at *7
20   (C.D. Cal. Apr. 11, 2011) (“If the Court were to construe Article III standing for FAL and
21   UCL claims as narrowly as the Defendant advocates, federal courts would be precluded
22   from enjoining false advertising under California consumer protection laws because a
23   plaintiff who had been injured would always be deemed to avoid the cause of the injury
24   thereafter (‘once bitten, twice shy’) and would never have Article III standing.”)).
25         While Plaintiffs may not purchase the same . . . products as they purchased
26         during the class period, because they are now aware of the true [nature] of the

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       PLTFF.’S MEM. OF POINTS & AUTHORITIES IN OPPOSITION TO DEF.’S MOT. FOR SUMMARY JUDGMENT
                                                                      CASE NO. 3:15-CV-00738 H (JLB)
 1         products, to prevent them from bringing suit . . . would surely thwart the
 2         objective of California’s consumer protection laws. That objective is “to
           protect both consumers and competitors by promoting fair competition in
 3         commercial markets for goods and services.
 4
     Henderson, 2011 WL 1362188, at *8 (quoting Kwikset Corp. v. Super. Ct., 51 Cal. 4th 310,
 5
     344 (2011) (emphasis in original)); see also Koehler v. Litehouse, Inc., No. CV 12-04055
 6
     SI, 2012 WL 6217635, at *6 (N.D. Cal. Dec. 13, 2012) (“The Court agrees with Henderson.
 7
     To do otherwise would eviscerate the intent of the California legislature in creating
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     consumer protection statutes because it would effectively bar any consumer who avoids
 9
     the offending product from seeking injunctive relief.”); Larsen v. Trader Joe’s Co., No. C
10
     11-05188 SI, 2012 WL 5458396, at *4 (N.D. Cal. June 14, 2012) (same).
11
           Plaintiffs request to be relieved from false advertising by defendants in the
12         future, and the fact that they discovered the supposed deception some years
           ago does not render the advertising any more truthful. Should plaintiffs
13
           encounter the . . . [challenged claims] at the . . . store today, they could not
14         rely on th[e] representation[s] with any confidence. This is the harm
           California’s consumer protection statutes are designed to redress.
15
     Ries, 287 F.R.D. at 533.
16
           Defendant further argues that injunctive relief is unavailable because Defendant
17
     purportedly stopped selling IntenseX in November 2015. Def.’s Mot. 10:6-7. However,
18
     Defendant never stated that it would stop selling the Product indefinitely. In fact, Defendant
19
     could start selling the Product again at any time (whether tomorrow or after this lawsuit
20
     concludes), and may even sell the Product through different intermediaries, as there is no
21
     court order in effect that would preclude it from doing so. Because there exists a genuine
22
     dispute of material facts as to whether Plaintiff would purchase IntenseX in the future, as
23
     well as whether the Product will be sold in the future, summary judgment is not warranted
24
     regarding Plaintiff’s pursuit of injunctive relief.
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       PLTFF.’S MEM. OF POINTS & AUTHORITIES IN OPPOSITION TO DEF.’S MOT. FOR SUMMARY JUDGMENT
                                                                      CASE NO. 3:15-CV-00738 H (JLB)
 1   C.      Material Facts Are in Dispute on Whether Defendant Breached
 2           an Express Warranty

 3           Under the California Commercial Code, express warranties may be created by “[a]ny
 4   affirmation of fact or promise made by the seller to the buyer which relates to the goods
 5   and becomes part of the basis of the bargain creates an express warranty that the goods
 6   shall conform to the affirmation or promise.” Cal. Com. Code § 2313(1)(a). Alternatively,
 7   “[a]ny description of the goods which is made part of the basis of the bargain creates an
 8   express warranty that the goods shall conform to the description.” Cal. Com. Code §
 9   2313(1)(b) (emphasis added).
10           Defendant focuses on Section 2313(1)(a), while largely ignoring the “description”
11   language found at Section 2313(1)(b). Regardless, both sections speak of the “basis of the
12   bargain” and the statute “creates a presumption that the seller's affirmations go to the basis
13   of the bargain.” Allen v. Hyland’s, 300 F.R.D. at 669. Indeed, “Any affirmation, once made,
14   is part of the agreement unless there is ‘clear affirmative proof’ that the affirmation has
15   been taken out of the agreement.” See Weinstat v. Dentsply Int'l, Inc., 180 Cal. App. 4th
16   1213, 1229 (2010).
17               1. Defendant Fails to Show by “Clear Affirmative Proof” that its
                    Affirmations of Fact, Promises, and Descriptions of IntenseX Do Not
18
                    Create Express Warranties
19           Defendant argues that Plaintiff’s warranty claims fail because there are not “any
20   affirmations of fact or promises on the product label.” Def.’s Mot. 11:12-13. At the outset,
21   this Court already ruled that Plaintiff “has adequately pleaded the elements of a claim for
22   breach of express warranty” because “[h]e identifies the specific statements made on the
23   IntenseX packaging that promised increased sexual power and performance; he alleges that
24   he and putative class members reasonably relied on those statements; and he alleges that
25   the product did not and cannot provide the promised effects.” MTD Order 13:22-26.
26
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          PLTFF.’S MEM. OF POINTS & AUTHORITIES IN OPPOSITION TO DEF.’S MOT. FOR SUMMARY JUDGMENT
                                                                         CASE NO. 3:15-CV-00738 H (JLB)
 1   Similarly, with respect to Plaintiff’s implied warranty claim, the Court also ruled that
 2   “Defendant has not shown that Plaintiff’s theory fails.” Id. 14:9-13. Defendant filed no
 3   evidence to show otherwise. Significantly, Defendant does not argue that that there are no
 4   “descriptions” of the product on the label. See Cal. Com. Code § 2313(1)(b) (“Any
 5   description of the goods which is made part of the basis of the bargain creates an express
 6   warranty that the goods shall conform to the description.”); accord Viggiano v. Hansen
 7   Natural Corp., 944 F. Supp. 2d 877, 893 (C.D. Cal. 2013) (“A description of the goods at
 8   issue can create an express warranty so long as it was part of the basis of the bargain
 9   between the parties.”).
10         The IntenseX label creates several express written warranties through affirmations
11   of fact, promises, and descriptions. Such express warranties include: (1) IntenseX
12   (phonetically identical to “intense sex”); (2) “Fast Acting!”; (3) “Sexual Power and
13   Performance”; (4) “IntenseX is designed to intensify your endurance, stamina, and sexual
14   performance.”; (5) “This fast acting formula quickly dissolves in the body releasing an
15   energy packed blend of potent herbal extracts.”; (6) “Achieve peak performance to
16   maximize the experience when you want it most.”; (7) “Proprietary Stamina Blend”; (8)
17   “Produced using the highest manufacturing standards.”; (9) “Laboratory Quality Tested”;
18   and (10) 100% Satisfaction Guaranteed”. Richards Decl. ¶ 2, Ex. 1. Defendant has filed
19   zero evidence that these statements did not form the basis of the bargain between Sandoval
20   and itself. Thus, Defendant failed to meets its summary judgment burden.
21         Moreover, there is a presumption under California law that these “affirmations of
22   fact,” “promises,” and/or “descriptions” of IntenseX have been “w[oven] ... into the fabric
23   of the agreement,” and “any fact which is to take such affirmations, once made, out of the
24   agreement requires clear affirmative proof.” See Cal. Com. Code § 2313 cmt. para. 3; see
25   also Keith v. Buchanan, 173 Cal. App. 3d 13, 23 (1985) (“A warranty statement made by
26   a seller is presumptively part of the basis of the bargain, and the burden is on the seller to
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       PLTFF.’S MEM. OF POINTS & AUTHORITIES IN OPPOSITION TO DEF.’S MOT. FOR SUMMARY JUDGMENT
                                                                      CASE NO. 3:15-CV-00738 H (JLB)
 1   prove that the resulting bargain does not rest at all on the representation.”).
 2         Defendant has failed to carry its burden of showing by “clear affirmative proof” that
 3   the labeling statements are not part of the basis of the bargain. See Belch Rebuttal Report
 4   ¶ 4 (“A reasonable consumer who examines the IntenseX product packaging and the
 5   information it contains would interpret specific words and representations made on the
 6   package and would form the beliefs these words and representations are intended to convey
 7   regarding the benefits of using the product.”). The only argument offered is that the Product
 8   packaging “merely includes the word ‘Sexual Power and Performance’” and not the word
 9   “increase.” Def.’s Mot. 11:20-12:3. But Defendant admits its intent in selling the Product
10   was to “intensify” “sexual energy.” ECF 63-9 at ¶ 3. Intensify means to grow, enhance, to
11   increase. And, with respect to the “Sexual Power and Performance” claim, it appears rather
12   obvious that the statement is describing the benefits that IntenseX will provide to users, as
13   corroborated by Plaintiff’s expert:
14         Examination of the IntenseX packaging shows that it clearly contains words
           and statements that are designed to convey the impression that this product
15
           can be used to improve sexual performance. These words and statements are
16         on the package for a reason which is to communicate to consumers reviewing
           the package that IntenseX is a product that can help enhance sexual
17
           performance. . . . The fact that the IntenseX brand name has the words Sexual
18         Power & Performance in a prominent position directly under it reinforces the
           communication of a sexual performance benefit one might receive from using
19
           the product.
20
     Belch Rebuttal Report 5-6. See also Dorsey, 2014 WL 4678969, at *6 (holding that claims
21
     like “Sexual Performance Enhancer for Men” on the label of an aphrodisiac product “make
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     specific claims regarding the benefits” provided by the product.). Further, the Product’s
23
     name “IntenseX” is an affirmation that the Product will result in intense sex. Belch Rebuttal
24
     Report 6 (“the IntenseX brand name is a blended word combining two emotionally charged
25
     words, Intense and Sex, which have cultural meaning among consumers. Intense sex is a
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       PLTFF.’S MEM. OF POINTS & AUTHORITIES IN OPPOSITION TO DEF.’S MOT. FOR SUMMARY JUDGMENT
                                                                      CASE NO. 3:15-CV-00738 H (JLB)
 1   term often used in reference to a very strong, passionate and/or arousing sexual
 2   experience.”). Defendant does not even address the other labeling representations, and fails
 3   entirely to prove there are no genuine disputes of material facts.
 4             2. Defendant’s Website Statements Create Express Warranties that Plaintiff
                  Need Not Have Relied On
 5
 6         Defendant argues that statements on Defendant’s website cannot form the basis of
 7   Plaintiff’s breach of warranty claim because he must have relied on said statements since
 8   he did not purchase the Product directly from Defendant. Def.’s Mot. 12:7-19 (citing
 9   Keegan v. Am. Honda Motor Co., Inc., 284 F.R.D. 504, 546 (C.D. Cal. 2012) (“[I]n the
10   absence of privity, California law requires a showing that a plaintiff relied on an alleged
11   omission or misrepresentation.”)). Fatal to its argument, however, an exception to the
12   privity requirement exists where a consumer relies on manufacturer advertising, which
13   works as a substitute for privity, such as the case here. Coleman v. Boston Sci. Corp., No.
14   1:10-CV-01968-OWW, 2011 WL 3813173, at *5 (E.D. Cal. Aug. 29, 2011) (observing
15   privity is not required where “the purchaser of a product relied on representations made by
16   the manufacturer in labels or advertising material”) (citing Burr v. Sherwin Williams Co.,
17   42 Cal.2d 682, 696 (1954)). Furthermore, another exception to the privity requirement
18   exists “in cases involving foodstuffs, drugs and pesticides.” Windham at Carmel Mountain
19   Ranch Assn. v. Super. Ct., 109 Cal. App. 4th 1162, 1169 & n.7 (2003) (citing Greenman v.
20   Yuba Power Prods., Inc., 59 Cal.2d 57, 62–64 (1963)). Dietary supplements (which
21   Defendant alleges IntenseX is) are treated as foods under the FDCA. 21 U.S.C. § 321(f)
22   (specifying that a dietary supplement is a product intended to supplement the diet and
23   consisting, inter alia, of a vitamin, mineral, herb, etc.). Plaintiff, however, contends that the
24   Product is an unapproved drug. Under either scenario, privity is not required here. In any
25   event, summary judgment on this issue is not warranted because there is a genuine dispute
26   as to whether Plaintiff was exposed to the website’s statements. Sandoval Dep. Tr. 86:9-

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       PLTFF.’S MEM. OF POINTS & AUTHORITIES IN OPPOSITION TO DEF.’S MOT. FOR SUMMARY JUDGMENT
                                                                      CASE NO. 3:15-CV-00738 H (JLB)
 1   87:9 (“I went to IntenseX.com, I typed it into Google, and it brought up . . . .”); id. 115:7-
 2   11. See Karim v. Hewlett-Packard Co., 311 F.R.D. 568, 575 (2015) (“‘Exposure’ does not
 3   require that the buyers must prove that they actually read the statement; instead, under
 4   Weinstat, it is sufficient for plaintiff to show that the statement was made available to
 5   them.”) (citing Weinstat, 180 Cal. App. 4th at 1213).
 6               3. Plaintiff Was “Actually Exposed” to the Express Warranties on the
                    Product Packaging and also “Actually Relied” on such Statements
 7
 8           Despite Defendant’s contention to the contrary, Plaintiff was exposed to, and
 9   reasonably relied on, Defendant’s express warranties that appeared on the Product’s label.
10   See Section A(3), supra. Again, Defendant fails to address most of the Product’s labeling
11   statements. Further, it matters not whether Plaintiff had sexual performance problems,
12   premature ejaculation issues, erectile dysfunction, or diminished libido, as any consumer
13   can purchase Defendant’s OTC Product who simply wishes to enhance their sexual
14   experience, performance, and/or enjoyment. Ironically, Defendant seems to take the
15   position that IntenseX is not marketed to treat sexual dysfunction issues, but on the other
16   hand argues Plaintiff must have had such issues in order for his reliance on the Product’s
17   advertising to be reasonable. In any case, Defendant has failed to meet its burden in
18   showing through “clear and affirmative proof” that the labeling statements were not a part
19   of the basis of the bargain. Accordingly, summary judgment must be denied.
20   D.      MATERIAL FACTS ARE IN DISPUTE ON PLAINTIFF’S BREACH OF
             IMPLIED WARRANTY OF MERCHANTABILITY
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             Defendant’s Motion references Plaintiff’s implied warranty of merchantability
22
     claim, but tries to lump it together with its faulty express warranty arguments. And,
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     Defendant offers no substantive argument regarding its breach of implied warranty of
24
     merchantability. Defendant has cited to no materials that “establish the absence or presence
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     of a genuine dispute” and thus cannot prevail on its summary judgment motion with respect
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          PLTFF.’S MEM. OF POINTS & AUTHORITIES IN OPPOSITION TO DEF.’S MOT. FOR SUMMARY JUDGMENT
                                                                         CASE NO. 3:15-CV-00738 H (JLB)
 1   to the implied warranty of merchantability. See Fed. R. Civ. P. 56(c)(B). “The implied
 2   warranty of merchantability ‘is breached when the goods do not conform to the promises
 3   or affirmations contained on the container or label or are not fit for the ordinary purposes
 4   for which the goods are used.” Martinez v. Metabolife Int’l, Inc., 113 Cal. App. 4th 181,
 5   189 (2003). Plaintiff has presented sufficient evidence that IntenseX did not, and does not,
 6   conform to the “promises or affirmations contained on the container or label” to create a
 7   genuine dispute. See, e.g., Richards Decl., Exs. 3-5.
 8   E.      MATERIAL FACTS ARE IN DISPUTE ON PLAINTIFF’S MMWA
             CLAIMS
 9
             Claims brought under the MMWA stand or fall with state law express and implied
10
     warranty claims and “this court’s disposition of the state law warranty claims determines
11
     the disposition of the [MMWA] claims.” Clemens v. DaimlerChrysler Corp., 534 F.3d
12
     1017, 1022 (9th Cir. 2008); see also In re Sony PS3 Other OS Litig., 551 Fed. Appx. 916,
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     920 (2014) (same). Here, Defendant has not filed a scintilla of evidence that IntenseX lives
14
     up to its promises; thus Plaintiff’s warranty claims stand. In addition, Defendant claims
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     Plaintiff’s MMWA claim should be dismissed “[i]n light of the Court’s denial of
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     Sandoval’s Motion for Class Certification.” Mot. 13:10-11. But Plaintiff filed a renewed
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     motion for class certification that is pending before the Court (ECF No. 59). In the interest
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     of judicial economy, that issue should be resolved first because it affects this argument.
19
                                   IV.    CONCLUSION
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             For the foregoing reasons, the Court should, respectfully, deny Defendant’s Motion
21
     in its entirety.
22
     DATED: August 15, 2016                          Respectfully Submitted,
23
24                                                     /s/ William B. Richards, Jr.
                                                       LAW OFFICES OF RONALD A.
25                                                     MARRON
26                                                     RONALD A. MARRON
                                                      25
          PLTFF.’S MEM. OF POINTS & AUTHORITIES IN OPPOSITION TO DEF.’S MOT. FOR SUMMARY JUDGMENT
                                                                         CASE NO. 3:15-CV-00738 H (JLB)
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     PLTFF.’S MEM. OF POINTS & AUTHORITIES IN OPPOSITION TO DEF.’S MOT. FOR SUMMARY JUDGMENT
                                                                    CASE NO. 3:15-CV-00738 H (JLB)
